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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
JOHN BRENT, Individually and on behalf
of all others similarly situated,
                                   3ODLQWLII                                     2:22-cv-04870
                                                         Civil Action No. _________________________________BBBBBBBBBB
       Y

CARVANA CO., ERNEST GARCIA III,
and MARK JENKINS,
                                   'HIHQGDQW



                        CORPORATE DISCLOSURE STATEMENT

            The undersigned counsel for ______________________________________________,
                                                              Plaintiff John Brent
            certifies that this party is a non-governmental corporate party and that:


            This party’s parent corporation, and all publicly held corporations owning 10% or
            more of this party’s stock, are listed here:

            _____________________________________________________________________
            _____________________________________________________________________
            _____________________________________________________________________

                                                 OR

   ✔        This party does not have a parent corporation, nor is there any publicly held corporation
            that owns 10% or more of this party's stock.


                                                                /s/ Luarence M. Rosen
                                                                Signature of Attorney

                                                                 One Gateway Center, Suite 2600
                                                                 Address

                                                                Newark, NJ 07102
                                                                City/State/Zip

                                                                08/03/2022
                                                                Date




                                                                                       DNJ-CMECF-005 ()
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Instructions:
1.       Disclosure Statement is to be filed as a separatedocument.
2.       Select Case Type (Civil) from the menu bar at the top of the ECF screen.
3.       Click on Other Documents.
4.       Select Corporate Disclosure Statement.
5.       Enter the case for which the Disclosure Statement is being filed.
6.       Select the PDF document tofile.
7.       Select the party filing the Disclosure Statement.
8.       If applicable insert the name of the Corporate Parent or leave it blank.
9.       Proofread the docket text.
10.      Submit the Disclosure Statement by clicking the NEXT button.
